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                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON


UNITED STATES OF AMERICA                               3:08-cr-00205-MO-8

               v.                                      ORDER DISMISSING CASE IN THE
                                                       INTERESTS OF JUSTICE
SOSIMO PERAZA-VELAZQUEZ,

               Defendant.


       This matter, having come before the Court on the government’s motion to dismiss in the

interests of justice, charging the defendant with violating 21 U.S.C. §§ 841(a)(1), 841(b)(1)(B),

841(b)(1)(C), 846, and 853, pursuant to Rule 48(a), Federal Rules of Criminal Procedure, the Court

being fully advised:

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       IT IS HEREBY ORDERED that the Case, charging the defendant with violating 21 U.S.C.

§§ 841(a)(1), 841(b)(1)(B), 841(b)(1)(C), 846, and 853in the above-captioned matter is DISMISSED.

                   23 2021
Dated: September _____,

                                                        ______________________________
                                                        HON. MICAHEL W. MOSMAN
                                                        United States District Judge

Presented by:


SCOTT ERIK ASPHAUG
Acting United States Attorney

/s/ Scott M. Kerin
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